









Petition for Writ of Injunction Denied and Opinion filed January 30,
2003









Petition for Writ of Injunction Denied and Opinion
filed January 30, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

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&nbsp;

NO. 14-03-00066-CV

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&nbsp;

IN RE PHILLIP JOE BARNES, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF INJUNCTION

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&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On January 17, 2003, relator
filed a petition for writ of injunction in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex. R. App. P. 52.

We deny relator=s petition for writ of injunction.

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition Denied
and Opinion filed January 30, 2003.

Panel consists of
Justices Yates, Anderson, and Frost. 

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